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N()R'l`l lliRN DISTRICT ()l" TEXAS

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IN THE UNITED sTATEs DISTRICT Cc§URT

0 R l G l N A l_ FoR THE NoRTHERN DlsTRICT oF TI§:XAS MAH * 3 9§“)§9

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UNITED STATES OF AMERICA

By-._....____¢, __“
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v. No. 4:l9-CR-()34-A
HARRIS BROOKS (01)
PLEA AGREEMENT

Harris Brooks, the defendant, J ay Dewald, the defendant’s attorney, and the
United States of America (the government) agree as folloWs:
l. Rights of the defendant: The defendant understands that the defendant
has the rights:

a. to plead not guilty;
b. to have a trial by jury;
c. to have the defendant’s guilt proven beyond a reasonable doubt;

d. to confront and cross-examine Witnesses and to call Witnesses in the
defendant’s defense; and

e. against compelled self-incrimination

2. Waiver of rights and plea of guilty: The defendant Waives these rights
and pleads guilty to the offense alleged in Count One of the Information, charging a
violation of 18 U.S.C. § 371 (18 U.S.C. § 1347), that is, Conspiracy to Commit

Healthcare Fraud. The defendant understands the nature and elements of the crime to

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which the defendant is pleading guilty, and agrees that the factual resume the defendant

has signed is true and will be submitted as evidence.

3. Sentence: The maximum penalties the Court can impose include:

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imprisonment for a period not more than five years;

a fine not to exceed $250,000, or twice the pecuniary gain or twice
the pecuniary loss;

a term of supervised release of not more than three years, which may
be mandatory under the law and will follow any term of
imprisonment If the defendant violates the conditions of supervised
release, he could be imprisoned for the entire term of supervised
release and multiple revocations of supervised release may result in
a term of imprisonment that exceeds the maximum term of
supervised release;

a mandatory special assessment of $10();

restitution to victims or to the community, which is mandatory under
the law, and which Defendant agrees may include restitution arising
from all relevant conduct, not limited to that arising from the offense `

of conviction alone; and

costs of incarceration and supervision

4. Court’s sentencing discretion and role of the Guidelines: Brooks

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. Brooks has reviewed the guidelines with his attorney, but

understands no one can predict with certainty the outcome of the Court’s consideration of

the guidelines in this case. Brooks will not be allowed to withdraw his plea if his

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sentence is higher than expected. Brooks fully understands that the actual sentence
imposed (so long as it is within the statutory maximum) is solely in the discretion of the
Court.

5. Defendant’s agreement The defendant shall give complete and truthful
information and/or testimony concerning his participation in the offense of conviction.
The defendant agrees to fully cooperate with the government, its agencies, and other law
enforcement agencies and provide truthful and complete information and/or testimony
before any federal grand jury, the United States District Court, or in any other
proceeding, concerning the defendant’s participation in the offense of conviction and
knowledge of criminal activities, including the criminal activities of others. Upon
demand, the defendant shall submit a personal financial statement under oath and submit
to interviews by the government and the U.S. Probation Office regarding his capacity to
satisfy any fines or restitution. Brooks expressly authorizes the United States Attorney’s
Office to immediately obtain a credit report on the defendant in order to evaluate the
defendant’s ability to satisfy any financial obligation imposed by the Court. The
defendant fully understands that any financial obligation imposed by the Court, including
a restitution order and/ or the implementation of a fine, is due and payable immediately
In the event the Court imposes a Schedule for payment of restitution, the defendant agrees
that such a schedule represents a minimum payment obligation and does not preclude the
U.S. Attorney’s Office from pursuing any other means by which to satisfy the

defendant’s full and immediately enforceable financial obligation. The defendant

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understands that the defendant has a continuing obligation to pay in hill as soon as
possible any financial obligation imposed by the Court.

6. Government’s agreement The government will not bring any additional
charges against the defendant based upon the conduct underlying and related to the
defendant’s plea of guilty. This agreement is limited to the United States Attorney’s
Office for the Northern District of Texas and does not bind any other federal, state, or
local prosecuting authorities, nor does it prohibit any civil or administrative proceeding
against the defendant or any property.

7. Violation of agreement The defendant understands that if the defendant
violates any provision of this agreement or if the defendant’s guilty plea is vacated or
withdrawn, the government will be free from any obligations of the agreement and free to
prosecute the defendant for all offenses of which it has knowledge In such event, the
defendant waives any objections based upon delay in prosecution If the plea is vacated
or withdrawn for any reason other than a finding that it was involuntary, the defendant
also waives objection to the use against the defendant of any information or statements
the defendant has provided to the government, and any resulting leads.

8. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

9. Representation of counsel: The defendant has thoroughly reviewed all

legal and factual aspects of this case with his attorney and is fully satisfied with that

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attorney’s legal representation The defendant has received from his attorney
explanations satisfactory to him concerning each paragraph of this plea agreement each
of his rights affected by this agreement and the alternatives available to him other than
entering into this agreement Because he concedes that he is guilty, and after conferring
with his attorney, the defendant has concluded that it is in his best interest to enter into
this plea agreement and all its terms, rather than to proceed to trial in this case.

lO. Entirety of agreement This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties. This agreement supersedes any and all other promises,
representations, understanding, and agreements that are or were made between the parties
at any time before the guilty plea is entered in court. No promises or representations

have been made by the United States except as _set forth in writing in this plea agreement

AGREED TO AND SIGNED this ii day of February, 2019.

ERIN NEALY COX
UNITED STATES ATTORNEY

Megan

  

Texas State Bar No. 24043655
Burnett Plaza Suite 17()()

801 Cherry Street Unit 4

Fort Worth, Texas 76102-6882
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I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

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Harris Brooks Date
Defendant

 

I am the defendant’s attorney. l have carefully reviewed every part of this plea
agreement with the defendant To my knowledge and belief, my client’s decision to enter
into this plea agreement is an informed and voluntary one.

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Date

 

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